 Case 6:10-cr-00126-JDK-JDL             Document 99         Filed 03/02/11       Page 1 of 2 PageID #:
                                               180


                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION


UNITED STATES OF AMERICA                             §

v.                                                   §          CRIMINAL NO. 6:10cr126(03)

JAMES EARL WILSON, JR.
    aka “Toby”                                        §

                             REPORT AND RECOMMENDATION OF
                             UNITED STATES MAGISTRATE JUDGE

         This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C. § 636(b)(3).

This case has been referred by the Honorable Leonard Davis to the undersigned Magistrate Judge for

the taking of a felony guilty plea. The parties have consented to appear before a Magistrate Judge.

         The defendant and counsel appeared before the undersigned United States Magistrate Judge who

addressed the defendant personally in open Court and informed the defendant of, and determined that

the defendant understood, the admonishments under Rule 11 of the Federal Rules of Criminal

Procedure.

         The defendant pled guilty, pursuant to a plea bargain agreement with the Government to Count

One of the Indictment.

         The undersigned Magistrate Judge finds the following:

1)       The defendant, with the advice of his attorney, has consented orally and in writing to enter this

guilty plea before a Magistrate Judge subject to final approval and sentencing by the presiding District

Judge;

2)       The defendant fully understands the nature of the charges and penalties;

3)       The defendant fully understands the terms of the plea agreement;

4)       The defendant understands his constitutional and statutory rights and wishes to waive these

rights, including the right to a trial by jury and the right to appear before a United States District Judge;
 Case 6:10-cr-00126-JDK-JDL           Document 99          Filed 03/02/11   Page 2 of 2 PageID #:
                                             181


5)     The defendant’s plea is made freely and voluntarily;

6)     The defendant is competent to enter this plea of guilty;

7)     There is a factual basis for this plea; and

8)     The ends of justice will be served by acceptance of the defendant’s plea of guilty.

                                          Recommendation

       Accordingly, it is hereby RECOMMENDED that the District Judge accept the plea of guilty and

enter a final judgment of guilty against the defendant. It is further RECOMMENDED that the plea

agreement be approved conditioned upon a review of the presentence report.

       A party’s failure to file objections to the findings, conclusions, and recommendations contained

in this Report within fourteen days after service with a copy thereof shall bar that party from de novo

review by the district judge of those findings, conclusions and recommendations and, except upon

grounds of plain error,
                  .     from appellate review of the unobjected-to proposed factual findings and legal

conclusions accepted and adopted by the district court. Douglass v. United Services Automobile

Association, 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).



                 So ORDERED and SIGNED this 2nd day of March, 2011.




                                                     ___________________________________
                                                                JOHN D. LOVE
                                                     UNITED STATES MAGISTRATE JUDGE




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